Case 1:19-cv-10203-IT Document 160-11 Filed 01/20/22 Page 1 of 2




                     EXHIBIT K
                                               Case 1:19-cv-10203-IT Document 160-11 Filed 01/20/22 Page 2 of 2
                                                                                                                                             LarsonP3000060
To: Celeste Ng                                                                                                                                                             CD

FYI, WHEN I'm allowed to speak, I'm fucking planning to damage them, and I'm sorry, I love you you are
not going to be able to prevent me.

*but

                                                                                                                                                  I love you. So damn much

Is the goal to get Dawn to go away forever, or for compensatory damages?

                                                                                                Definitely hold off- the time will come! And please say NOTHING privately

                                                                                                                                                              All the things!

I want justice for you so badly but I worry about you diving into a protracted legal battle, even though you
are in the right and will likely win easily.

I'm not saying anything. Promise.

Don't worry. But I'm not going to stop being mad about it, or planning what I'm going to say on my own
behalf, when I'm allowed.

                                                                                                               I'm not worried- everyone is saying this is an excellent case

                                                                                                                                                            Esp. if pro bona

Yes, def. it seems pretty clear cut to me.

                                                                                        I do hope- with all my might- that the real story will come out someday, somehow

But it's going to be infuriating and a slog.

Make sure you maintain the right to speak/write about it in the end.

                                                                                                                                                           Agreed. For real.

Honestly putting the real story out there may be the most satisfying thing. Aside from making her leave
you the fuck alone for the rest of her life.

                                                                                                      Yes- there are many things to process. One at a time, one at a time...
